Case 8:12-cv-01994-DOC-JCG       Document 225-1     Filed 02/03/25   Page 1 of 3 Page
                                     ID #:3149


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  4
      Attorneys Plaintiff and Judgment Creditor
  5   Jonathan David Parker
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  8                      UNITED STATES DISTRICT COURT
  9     CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
 10   DAVID PARKER and BIG BIRD                   CASE NO.: 8:12-cv-01994-DOC-JCG
      HOLDINGS, LLC,
 11
                   Plaintiffs,                    [PROPOSED] RENEWAL OF
 12   vs.                                         JUDGMENT BY CLERK
 13   ALEXANDER MARINE CO., LTD.,                 [NO HEARING SCHEDULED]
 14                Defendant.
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 17         On February 2, 2015, Judgment was entered in favor of Plaintiffs David
 18   Parker and Big Bird Holdings, LLC against Defendant and Judgment Debtor
 19   Alexander Marine Co., Ltd (“DEBTOR”) in the sum of $3,931,059.71. [Docket
 20   103] On March 21, 2019, a Second Amended Judgment was entered to include
 21   prejudgment interest in the amount of $6,508.11, and attorneys’ fees in the amount
 22   of $273,534.25 for a total judgment amount of $4,204,593.96 [Docket 207]
 23   (“JUDGMENT”).
 24         On September 3, 2024, the judgment was amended to substitute Plaintiff and
 25   Judgment Creditor Jonathan David Parker (“JUDGMENT CREDITOR”) as the
 26   successor-in-interest of David Parker as a result of the death of David Parker.
 27   [Docket 221] On October 24, 2024, Plaintiff and Judgment Creditor Big Bird
 28   Holdings, LLC assigned all of its right, title and interest in the JUDGMENT to
Case 8:12-cv-01994-DOC-JCG     Document 225-1      Filed 02/03/25   Page 2 of 3 Page
                                   ID #:3150


  1   Jonathan David Parker. [Docket 223] No judgment liens have been filed with the
  2   California Secretary of State or otherwise. No abstracts of judgment have been
  3   recorded.
  4         NOW, upon application of the JUDGMENT CREDITOR:
  5         The money judgment against DEBTOR is renewed in the amount of
  6   $4,276,100.12 as follows:
  7               a.     Total JUDGMENT ………………………….                       $4,204,593.96
  8               b.     Costs after judgment ………………………..                         $0.00
  9               c.     Interest after JDUGMENT computed from
 10                      February 3, 2015 to February 2, 2025 (3,652
 11                      days) at 0.17% accruing at $19.58 per day….         $71,506.16
 12               d.     Less credits after JUDGMENT ……………..                      $0.00
 13               e.     Total Renewed Judgment                           $4,276,100.12
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 16   DATED: ______________                 _________________________________
 17                                         CLERK OF THE COURT
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Case 8:12-cv-01994-DOC-JCG      Document 225-1      Filed 02/03/25   Page 3 of 3 Page
                                    ID #:3151


  1                            CERTIFICATE OF SERVICE
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             I certify that on February 3, 2025, I electronically filed the foregoing
  3   [PROPOSED] RENEWAL OF JUDGMENT BY CLERK with the Clerk of the
  4   Court for the United States District Court, Central District of California, by using
      the CM/ECF system. Participants in the case who are registered CM/ECF users
  5   will be served by the CM/ECF system.
  6

  7

  8   Dated: February 3, 2025                 DAVIS LAW OFFICE
  9
                                              By:   /s/ D. Jason Davis
 10                                              D. Jason Davis, Esq.
                                              Attorneys for Plaintiff and Judgment
 11                                           Creditor Jonathan David Parker
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